


  Appeal by the defendant, as limited by his motion, from a sentence of the County Court, Suffolk County (Condon, J.), imposed February 24, 2016, upon his plea of guilty, on the ground that the sentence was excessive.
 

  Ordered that the sentence is affirmed.
 

  The defendant’s valid waiver of his right to appeal precludes review of his contention that the sentence imposed was excessive (see People v Sanders, 25 NY3d 337, 341-342 [2015]; People v Lopez, 6 NY3d 248, 256-257 [2006]; People v Aviles, 142 AD3d 671 [2016]).
 

  Eng, P.J., Rivera, Cohen, Miller and LaSalle, JJ., concur.
 
